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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                            Case No. 19-MJ-654 (HB)

 UNITED STATES OF AMERICA,                    )
                                              )
                     Plaintiff,               )
                                              )
              v.                              )   ORDER OF DETENTION
                                              )
 VICTOR MANUEL QUIJADA,                       )
                                              )
                     Defendant.               )

      This matter came before the Court for a detention hearing on October 15, 2019.

The defendant, Victor Manuel Quijada, was present and represented by Kevin M. O’Brien,

Esq. The United States was represented by Assistant United States Attorney Thomas M.

Hollenhorst. For the reasons stated below, the Court grants the government's motion for

detention.

                                  FINDINGS OF FACT

      1. On October 10, 2019, the defendant was charged in a Criminal Complaint with

distribution of 50 grams or more of actual methamphetamine in violation of 21 U.S.C. §§

841(a)(1) and 841(b)(1)(A). ECF 1. This is a Controlled Substance Act offense which

carries a maximum term of life imprisonment. See 21 U.S.C. § 841(b)(1)(A).

      2. The pretrial service report reflects that the defendant has a serious criminal

record, which includes a prior conviction for second-degree murder.

      3. The defendant did not present any evidence to rebut the presumption of

detention and waived the detention hearing.
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                              CONCLUSIONS OF LAW

      1. Because the defendant is charged with an offense under the Controlled

Substances Act which carries a maximum term of imprisonment of 10 years or more, this

creates a rebuttable presumption that no condition or combination of conditions will

reasonably ensure the defendant’s appearance in court and the safety of the community.

See 18 U.S.C. § 3142(e)(3).

      2. After consideration of the Criminal Complaint, the Pretrial Service Report, the

presumption of detention, the factors under 18 U.S.C. § 3142(g), and the defendant’s

waiver of the detention hearing, the Court concludes by a preponderance of the evidence

that no condition or combination of conditions of release would reasonably assure the

defendant’s appearance at further Court proceedings; and by clear and convincing evidence

that no condition or combination of conditions of release will reasonably assure the safety

of any other person and the community if the defendant is released pending trial. For the

foregoing reasons, IT IS HEREBY ORDERED that:

      1. The motion of the United States for detention is granted;

      2. The defendant is committed to the custody of the Attorney General;

      3. The defendant shall be afforded reasonable opportunity to consult privately

with counsel; and

      4. Upon Order of the Court or request by the United States Attorney, the person

in charge of the corrections facility in which the defendant is confined shall deliver the




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defendant to the United States Marshal for the purpose of appearance in connection with

further court proceedings.

Dated: October 15, 2019.


                                        s/Tony N. Leung
                                        Tony N. Leung
                                        United States Magistrate Judge




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